Case 2'04-cr-20411-SH|\/| Document 34 Filed 06/16/05 Page 1 of 2 Page|D 39

 

IN THE UNITED STATES DISTRICT coURT HLED B`{°"'U£go`c"
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UNITED sTATES oF AMERICA, §.LD;R§F='E:`;~I, P§f§i:
vs. No. 04-20411-Ma
LARRY HILL,

Defendant.

ORDER RESETTING SENTENCING DATE

Before the court is the defendant's June 15, 2005, motion to

reset the sentencing of Larry Hill, which is presently set for

June 17, 2005. For good cause shown, the motion is granted.

The sentencing of defendant Larry Hill is reset to Thursday, June

30, 2005, at 10:30 a.m.

11; is So oRDERED this *“ Kday of June, 2005.

JAMWL`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-204]1 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

